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                 EXHIBIT 1
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From:           Hughes, Patrick
To:             Rose, Jorian L.; Green, Elizabeth A.
Cc:             Butch Boyd (butchboyd@butchboydlawfirm.com); Wyrick, Martha
Subject:        Concerns over delays on post auction deadlines, the status of bids, and lack of detailed information
Date:           Tuesday, November 30, 2021 11:27:44 AM


Dear Limetree Team

As you know we represent Bay, Ltd, a prevailing bidder at the auction conducted November
18. Despite its prevailing bid especially when combined with the Sabin bid exceeding the
highly contingent bid proffered [and seemingly favored throughout] by SCE, Bay has not
heard anything further regarding its bid, its status, any comments to its offer going into the
auction, or even a draft copy of a proposed sale order promised three weeks ago. That is
concerning on several levels.

First, while the actual conduct of the auction itself was capably done and resulted in Bay and
Sabin emerging as the highest bidders for the assets, the process before and after was from a
buyer’s perspective chaotic and seems without precedent in disregarding or extending
deadlines at will and often literally on the eve of the deadline, without explanation, and geared
entirely to favor delivery of the assets to SCE, regardless of its highly conditioned proposals.
That is troublesome, because the process before and now after the auction seems preordained
to deliver the assets to SCE, even under the new circumstances of what came from the auction.

Second, the various deadlines for announcing the prevailing bidder have been unilaterally
delayed several times, without explanation, before and after the auction. Yet the timeline for a
sale hearing keeps being posted as “maybe” December 7, without any confirmed time, and the
closing timelines at December 10 and 13, which are rapidly approaching. That unfairly jams
prevailing bidders into reacting to an as yet undelivered form of sale order, critical to any
buyer, as well as to even review as yet undelivered comments to the last form of APA. That is
troublesome too.

Third, when viewing the foregoing against the chaotic 18 hours before the auction when Bay
was overtly discouraged from even participating at the auction, and having the auction
seemingly cancelled as a preferred path, necessitating preparation by Bay of emergency papers
to file if the lack of admission to the auction occurred, the several delays and lack of
communication since the auction appear from Bay’s perspective to be tactical to somehow jam
prevailing bidders into a fait accompli outcome they can never react to if indeed the sale
hearing does proceed on December 7, and the closings forced as scheduled at risk of forfeit of
deposit. That too is troubling.

Bay is concerned this process is flawed and outcome determinative, intended before and now
after the auction to favor delivery of the assets to SCE, or to at every turn give SCE the benefit
of the doubt on its highly conditional proposal which at this juncture offers less value, and
seems more akin to a disguised liquidation bid perhaps. Before and during the auction, SCE
statements made plain its bid was not firm, and remained conditional on other events, not least
of which was a TSA that as of the auction other key participants had not yet reviewed.   Yet
SCE remained as the ostensible lead bid, in circumstances where its willingness to close was
in substantial doubt, and its ability to ever restart the refinery highly improbably for a host of
reasons.

We have heard nothing since to change that, even though I just did wrap a call with Joe
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Esmont on another matter where he did indicate that tonight’s deadline to designate a lead
bidder would not be further extended apparently. But the fact as we understand it remains as
before—the SCE bid is no more firm than before, it remains below the Bay and Sabin bids;
and it seems that regardless of practical and legal impediments to any restart, it still is
preferred.   That makes no sense to Bay at this juncture.

If there continues to be delays or a refusal to acknowledge Bay and Sabin as the prevailing
bidder, then Bay may need to seek relief, and otherwise request an immediate production of
limited documents concerning the foregoing matters and internal business decisions made, and
a deposition of representatives with knowledge. Unless Bay can better understand what is
going on, Bay also opposes, until that is provided, the current amorphous December 7
schedule. We will be forwarding a 30(b)(6) request later today, but we expect you can discern
from the above the nature and types of materials relevant for gathering and identify the
corporate representatives who can attest to the foregoing.


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